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                          UNITED STATES DISTRICT COURT
                  DISTRICT OF MASSACHUSETTS, WESTERN DIVISION

  DEBORAH LAUFER,                                           Case No.: 3:20-cv-30087
                                                   :
  Plaintiff,
                                                   :
  v.
                                                   :
                                                   :
  PRATIK-SONAM CORPORATION,
                                                   :
                                                   :
  Defendant.
                                                   :
  ___________________________________


                   STIPULATION OF DISMISSAL WITH PREJUDICE


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is hereby stipulated and

agreed that the above-captioned action, including all claims, is dismissed, with prejudice and

without attorneys’ fees and costs, and waiving any and all right of appeal.



Respectfully submitted,

FOR THE PLAINTIFF                            FOR THE DEFENDANT


By: /s/ Daniel Ruggiero                      By: /s/ Carolyn Marcotte Crowley


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Dated: December 23, 2020
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 23, 2020, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notifications to all counsel of
record who have appeared in this action.


                                                     /s/ Carolyn Marcotte Crowley
                                                     Carolyn Marcotte Crowley
